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     (Revi
         sed03/2020)

                                        U NITED STATE S D ISTR ICT CO U R T
                                        SO UTH ERN D ISTR ICT O F FL O R ID A

                                 APPEARANCE BOND :                            -      -




                                                      cxsENo.: Q t.C,w-Glûb q % po           -




     U N ITED STA TES OF AM ER ICA :
                           Plaintiff,

       3uko 'ï %                                                  USM#:
                       G ïsx       %
                           Defendant,


     1,theundersir eddefendantand Iorwe,theundersignedsureties,jointly andseverallyacknowledgethatweand
     ourpersonalrepresentatives,jointlyandseverally,arebo dtopaytheUrlitedStatesofAmericw thesum of
     $            <                                          :X
                                        STA N D AR D CO N D IT ION S O F BO N D

     Theconditionsofthisbond arethatthedefehdant:
         1. Shall appear before this Courtand at such other places as the defendant m ay be required to appear,irl
     accordance w ith any and a1l orders and directions relating to the defendant's appearance in this case,including
     appearance forviolation ofacondition ofthe defendant'srelease asm ay be ordered ornotified by this Courtor
     any otherU nited StatesDistrictCourtto which the defendantm ay be held to answ er orthe cause transferred.n e
     defendantisrequired to ascertain from the Clerk ofCourtordefensecounselthe tim e and placeofa1lscheduled
     proceedings on the case. In no eventm ay a defendantassllm e thatllisorher case has been dism issed tm less the
     Courthasenteredanorderofdismissal. n e defendantisto abideby anyjudgmententeredin suchmatterby
     surrendedngtoserveany sentenceimposedandobeyinganyorderordirectionincormectionwithsuchjudgment.
     Thisisa continuing bond,including any proceeding on appealorreview,which shallrem nin in fullforce and
     effecttmtilsuch tim easthe Courtshallorderotherwise.

        2. M ay notkaveloutside the Southern DistrictofFlodda unlessotherwiseapproved by the Courtpriorto
     any such travel.The Southern DistrictofFloridaconsistsofthefollowing counties: Broward,Highlands,lndian
     River,M artin,M iami-Dade,M onroe,Okeechobee,Palm Beach and St.Lucie.
        3. M ay notchange his/her presentaddress w ithoutpriornotitication and approvalfrom the U .S.Probation
     Oftk erorthe Court.
        4. M ust cooperate w ith 1aw enforcem ent oftk ers in the collection of a D N A sam ple if the collection is
     required by 42 U .S.C.Section 14135a.
         5. M ustnotviolate any federal,state or locallaw w llile on release in tllis case.Should the defendantcom e
     in contactw ith law eaforcem enthe/she shallnotify the U .S.Probation Officerw ithin 72 hours.
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                                     SPECJAL CONDJTJONSP F BOND
In addition to com pliance with the previously stated conditions of bond,the defendant m ust com ply with the
specialconditionschecked below :

    a.S= endera11p% sportsand traveldocuments,ifany,to PretrialServicesand notobtain any traveldocllments
      dudng thependency ofthecase;
     .    eporttoPretrialSeM cesasfollows:(        directed or   timets)aweek in person and      timets)aweekby
      telephone;
    c.Subm ittosubstance abusetesting and/ortreatment,contributetothecostofservicesrenderedbasedon ability
       to pay,asdetermined by theU.S.Probation Officer;
     . Re âain from     excessive OR     abKtnin 9om alcoholtlseor any lzseofanarcotic dnzg orotherconkolled
         substnnce,asdeM edirlsection 102oftheConkolledSubstancesAct(21U.S.C.j802),withoutaprescdpdonby
      a licezlsed m edicalpractiéoner;
    e.Participate in a m entalhealth mssessmentand/orkeatm ent and conkibute to the costs of services rendered
      based on ability to pay,as determ ined by the U .S.Probation Officer;
    f.Employmentrestrictionts):
   g.M aintain oractively seek full-tim e em ploym ent;
       aintain orbegin an educationalprogrnm ;
 h i.Avoid a11contactw ith victim s or w itnessesto the crim es charged,exceptthrough counsel. TheAUSA shall
     provide defense cotm sel and pretrial services w ith the nam es of a11 victim s or w itnesses.n e prohibition
     against contact does not take effecttmtil defense cotm selreceives the list.The prohibition against contact
     applies only to those persons on the list,but the prosecutorm ay expand the listby sending w ritten notice to
      efense counseland prekialservices.;
    j.Avoida1lcpntactwith co-defendantsand defendantsinrelated cmses,exceptthroughcounsel;
    k.Refrinf'
             rom possessingatirenrm,destructivedeviceorotherdangerousweaponsandshallsurrender(ifany),
         eir concealed w eaponsperm itto the U .S.Probation O ffice;
    1.N one ofthe signatoliesmay sell,pledge,mortgage,hypothecate,encumber,etc.,any realproperty they own,
        ntilthebond isdischarged,orotherwisem odifiedby theCourt;
    m .M ay notvisitcommercialtransportation establishment:airports,seaport/m arinas,comm ercialbusterm inals,
       kain stations,etc.;
    n.Defendantshallconsentto the U.S.Probation Oo cer conducting periodic lmannounced exnm inaéons ofthe
       defendnnt'scomputerequipmentathis/herplace ofemplom entoron the computeratllis/herresidencewhich
         may includeretrievaland copying ofalldataâom thecomputerts)and any internalorextemalpedpheralsto
         ensure com pliance w ith thiscondition and/or rem ovalofsuch equipm entforthe pup ose ofconducting a m ore
         thoroughinspection;andconsentatthedirection oftheU.S.Probation Oo certohaveinstalledonthedefendant's
         computerts),atthedefendant'sexpense,anyhnrdwareorsoAwaresystemstomonitorthedefendnnt'scomputer
         tzse;
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                                                         D EFENDAN T:
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    o.LOCATION M OM TORING PROGRAM : The defendant shall be m onitored by the form of location
      m onitoling and shallabideby al1technology requirementsasnoted below,aswellasconi butetothecostsof
      servicesrenderedbased on( )abilitytopay asdeterminedby theU.S.ProbationOo cer- or- ( )paid by
      U .S.Probation;
          Location m onitodng teclm ology atthe discretion ofthe oftk er
           RadioFrequency(R.F)monitoring(EleckorlicM onitoring)
           ActiveGPS M onitoring
           V oice R ecognition
           Curfew :You are resi cted to yourresidence every day âom        to   .oras directed by the supervising
           o/ cer.
                                                       OR
           Hom eDetention:You arerestictedto yourresidenceata1ltim esexceptfor:
           (   )medical
           (   )substanceabuseormentalhealthkeatment
           (   )courtappearances
           (   )attorneyvisitsorcourtorderedobligations
           (   )religiousservices
           (   )employment
           (   )otheractivitiesaspre-approvedbythesupervisingoflicer
-    p.RESIDENTIAI,RE-ENTRY CENTER :The defendant shall reside at a residentialre-entry center or
       halfwayhouseand abideby a1ltherulesandregulationsoftheprogram.'I'hecostto bepaid by( lpretrial
       Services or ( )based on the defendant'sability to pay.You are resG cted to the residentialre-entry
       center/halfway house ata11tim esexceptfor:
       (   )employment
       (   )education
       (   )religiousservices
       (   )medical,subKtlmceabtkse,ormentalhealthtreae ent
       (   )attomeyvisits
       (   )courtappearances
       (   )courtorderedobligations
       (   )reportingtoPretrialServices
       (   )Other
-    q.Third-party Custody:                                      willservemsathird partycustodian and will
       reportany violationsoftherelease conditionsto theU .S.Probation Officer. Failure to comply with these
       requirements,thethird party custodian can be subjectto theprovisionsof 18U.S.C.j401,Contemptof
       C ourt.
     r.n edefendantshallsubmithisperson,property,residence,vehicle,papers,computers,(msdefined in 18
-
       U.S.C.1030(e)(1)),otherelectroniccommdlnication ordatastoragedevicesormedia,oroflke,toasearch
       conducted by a United States Probation Oo cer. The defendantm ustwarn any other occupantsthatthe
       premisesmaybesubjecttosearchespursuanttotlliscondition.Anysearchmustbeconductedataremsonable
       tim e and in a reasonable m nnner.
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 s. M andatory Adam W alsh Conditions: Defendant shall abide by specified restrictions on personal
 mssociations,place of abode,ortzavel,to avoid a1lcontactw111: an alleged victim of the crim e and w1111a
 potential w im ess w ho m ay testify concem ing the offense; report on a regular basis to a designated 1aw
 entbrcementagency,pretrialservicesagencyorotheragency'  ,complyw1t11aspecifedcurfew (withelectronic
 monitoring)andrefrain from possessingaflrenrm,destructivedeviceorotherdangerousweapons.
 t.AdditionalSex Offense ConditionsForDefendants charced or Convicted of a SexualOffense:
                                                -   -



      1. ( )Defendantmaynothavecontactwithvictimts),oranychildundertheageof18,Imlessapproved
               by the Courtorallowed by theU .S.Probation Officer.
             )'l'hedefendantshallnotpossessoruseanydataencryptionteclmiqueorprogrnm andshall
               providepasswordsand adm inistrativerightstotheU .S.Probation Oftk er.
             ) Defendantshallpm icipateinspecializedsexoffendereviuationandtreatment,ifnecessary,
               and to contributeto the costsofservicesrendered based on abilityto pay,asdeterm ined by
               theU.S.Probation Office.
             )Defendantshallnotpossess,procure,purchaseorotherwiseobtninanyinternetcapabledevice
               and/orcomputer.Additionally,thedefendantisprohibited from usinganotherindividual's
               com puterordevicethathasinternetcapability.
             )Defendantisprohibitedfrom establishingormaintaininganyemailaccountorsocialmedia
               account.Additionally,the defendantisprohibited from usinganotherindividual'semailaccount
               orsocialm edia account.M ustprovide m onthly orupon request,personalphone and creditcard
               billingsto PretrialServicesto continn there are no services w ith any internetservicesprovider.
             )Defendantisnotpermittedtoenterplaceswherechildren congregateincluding,butnotlimited
               to any play areas,playgrounds,libraries,children-them ed restaurants,daycares,schools,
               nm usem entparks,cnrnivals/fairs,llnless approved by the U .S.Probation O flk er.
      7. ( )Thedefendantshallnotbeinvolvedinany children'soryouthorgnnizations.
      8. ( ) Defendantisprohibitedfrom viewing,owning,orpossessinganyobscene,pornographic,or
               sexually stimulatingvisualorauditory material,including telephone,electonicm edia,
               COm Pt1tCCPfogrRm syOfCom ptltefServices.
             )'rhedefendantshallparticipateinamaintenancepolygraph exnminationtoperiodically
               hw estigatethedefendant'scompliance.Thepolygraph exnm ination shallspecifically address
               only defendant'scomplianceornon-compliancewith the specialconditionsofrelease and shall
               notinquireintothefactsofthepending criminalcase againstdefendant.'I'hedefendantwill
               contdbutetothecostsofservicesrendered(co-payment)bmsedonabilitytopayoravailability
               ofthird party paym ent.
 u.May travelto and from :         C-I--.           ,and mustnotify PretrialServicesoftravelplansbefore
 leaving and upon return.
 v.Com ply w ith the follow ing additionalconditions ofbond:
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                                                       DEFEND ANT:
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                  PENM UTIES A ND SAN CTIO NS A PPLIC ABLE T O D EFEN D AN T

       Violation ofany ofthe foregoing conditionsofreleasem ay resultin theimmediateissuanceofawarrant
forthe defendant's arrest,a revocation ofrelease,and orderofdetention,asprovided in 18 U.S.C.j3148,
forfeimreofanybailposted,andaprosecution forcontemptasprovided in 18U.S.C.j401,which couldresult
in apossibleterm ofimprisonm entoratine.

       The com mission of any offense while on pretrialrelease m ay result in an additional sentence upon
conviction forsuch offenseto aterm ofimpdsonm entofnotmorethan ten years,ifthe offenseisafelony;ora
term of im pdsonment of not more th= one year,if the offense is a m isdem eanor.This sentence shall be
consecutiveto any othersentence and mustbeim posed in addition tothesentence received fortheoffense itself.

       Title18U.S.C.j1503makesitafelonycdminaloffenseplnishablebyimprisonmentanda$250,000fine
tointimidateorattempttointimidateawitness,jlzrororofticerofthecourt;18U.S.C.j1510makesitafelony
cdm inaloffensepunishableby imprisonmentand a $250,000 fineto obstructa crim inalinvestigation;18U .S.C.
51512 makes itafelony criminaloffenseplnishable by imprisonmentand a $250,000 fine to tnmperw1111a
wimess,victim orinformant;and 18U.S.C.j1513makesitafelonycdminaloffensepllnishablebyimprisonment
and a $250,000 finetoretaliate againstawitness,victim orirlformant,orthreaten to do so.

       Itisa criminaloffense tmder18U.S.C.j3146,ifafterhaving been relemsed,thedefendantknowingly
failsto appearasrequired by the conditionsofrelease,orto surrenderforthe service ofsentence ptlrsuantto a
courtorder.lfthedefendantwasreleased in cormection * 111achazge of,orwhile awaiting sentence,surrender
fortheserviceofa sentence,orappealorcertiorad afterconviction for:

    (1)an offenseptmishableby death,lifeimprisonment,orimprisonmentforatenn oftifteenyeazsormore
        the defendantshallbe fined notmorethan $250,000 orim prisoned fornotmorethan ten years,orboth;
    (2)an offenseplmishableby imprisonmentforaterm offiveyearsormore,butlessth% fifteen years,the
        defendantshallbefined notm orethan $250,000 orim prisoned fornotmorethm1fiveyears,orboth;
    (3)any otherfelony,thedefendantshallbefmednotmoreth% $250,000orimprisonednotmorethantwo
        years,orboth;
    (4)amisdemeanor,thedefendantshallbefined notmoreth% $100,000 orimprisonednotmoreth% one
        year,orboth.

        A term ofim pdsonmentimposedforfailureto appearors= endershallbeconsecutiveto thesentenceof
im prisonmentforany otheroffense.In addition,afailuretoappearmay resultin theforfeitureofany bailposted,
which meansthatthe defendantwillbe obligated to pay thefullnm ountofthebond,which m ay be enforcedby
a11applicable lawsoftheUnited States.
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                                                                            DEFENDANT:
                                                                            C ASE NU M BER:
                                                                            PAG E SIX
                            PENALTIES AND SANCTIO NS APPLICABLE TO SUR ETIES
Violation bythedefendantofany oftheforegoingconditionsofreleasewillresultin an immediateobligationby thesurety orsureties
topaythefulla ountofthebond.Forfeitureofthebondforanybreachofoneormoreconditionsmaybedeclaredbyajudicialoflker
ofanyUnitedStatesDiszctCourtbavingcognizmnceo.
                                             ftheaboveentitledmatteratthetimeofsuch breach,andifthebond isforfeited
andthefodkitureisnotsetasideorremitted,judgmentmaybeentereduponmotioninsuchUnitvdSvtesDistrictCourtagainsteach
suretyjointlyandseverallyfortbtamotmtofthtbondatogetherwithinterestandcom ,andexecutionmaybeissuedandpayment
securedasprovidedbytheFederalRulesofCrim inalProcedureandotherlawsoftheUnitedStates.
                                                    SIGNATURES
IhavecarefullyreadandIunderstandthisentireappearancebondconsis-tingûfsevenpages,orithaobeenreadtome,and,ifnecessary,
eanslatedintomy nativelanguage,and lknow thatlam obligatedby law tocomplywithallofthetcrmsofthisbond.Ipromisetoobey
al1conditionsofthisbond,toagpearincourtasrequized,andtosurrenderforserviceofanysentenceimposcd.Iam awareofthe
penaltiesand sanctionsQutlined m thisbond forviolationsoftheterm softhebond.
IfIam an agentactingfororonbihalfofacomoratesurety,lfurtherrepresentthatIarnaduly authorizedagentforthecorporatesurety
andhavefullpowerto executethisbond inthe am ountsuted.
                                                                 DEFENDANT
Signedthis               d2y Of                            ,21       X              --                 ,   Florida z
Sir ed V dKe oWledged beforeme:                                     DEFENDANT:(Si nature
W W NESSI                         -         -- -                             é W                              X                1
                                                                                                                               V1
                                                                                                City                              Stak
       City                           Statr

                                                           CO RPO RATE SURETY
Sir edthis               dayof                             ,2l       at    - - .-                      ,   Florida
SURETY:                                                              AGENT;(Signature)
                                                                     PRINT NAM E:
         City                           State

                                                           INDIVIDUAL SURETIES
Siredthis        dayof                ,21      at            = Flœida Signedthts dayof                                 ,21 x              ,FlœiY
SURETY:(Signature)                                             --        SURETY:(Signature)
PM NT NAM E:                                                             PRINT NAM E:
RELATIONSHIPTO DEFENDANT:                                                RELATIONSO D DEFENDANT:

                City                               Statt                                 City                                     Statt

signede /L iqyofé :                   ,2l x
                                        -
                                                               F ,0      Signi titts             dayof                 ,21   at           .Flce
scuE-rv:(signature)                                        /             SURETY:(Signature)
FRJNTNAME: R G caw u r&)                                                 PRINT NAM E:
ltEta'noxsv- qxloE- m : ars'
                           n                                             REIM ONSHIPTO DEFENDANT:
    f4.L..:c7
        City
                          -            vruw
                                          State                                          City                                     Staz
                                                    A PPRO VA L BY T                       O           T
 Date:             Sep 13,2021                                                                                         *' W ZA--            .-



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                                                                          VN TED STATES M A GISTR ATE TUDG E
